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                             United States District Court
                            Southern District of New York


Virginia L. Giuffre,

               Plaintiff,              Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/




      PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR
     DEFENDANT’S RULE 37(b) &(c) SANCTIONS FOR FAILURE TO COMPLY WITH
           COURT ORDER AND FAILURE TO COMPLY WITH RULE 26(a)
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in multiple locations. So she and her legal counsel have worked diligently to track them down

through a search that has spanned nearly two decades and two continents.

       Ms. Giuffre made her initial disclosures on this subject in an answer to an interrogatory

that she served on April 29, 2016. Ms. Giuffre listed 15 health care providers that she could

recall at the time. Four days later, on May 3, 2016, Defendant deposed Ms. Giuffre. During the

deposition, Ms. Giuffre’s memory was jogged and she was able to recall two additional

providers: Judith Lightfoot and Dr. Christopher Donahue. 5

       Defendant, however, seeks to magnify the innocent recollection of two additional

providers at Ms. Giuffre’ deposition by misleadingly claiming that “[i]t is only through

deposition testimony that Ms. Maxwell became aware of at least five - if not more - treating

health care physicians.” (Mtn. at 1). This claim, too, is inaccurate. Beyond Ms. Lightfoot and

Dr. Donahue, Defendant apparently adds to the list of “withheld” doctors by referring to treating

physicians who cared for Ms. Giuffre on a one-off basis in the Emergency Room. It is

unsurprising that a patient would have trouble remembering an emergency room physician’s

name. But the real point here is that, in any event, the information was disclosed through

documents produced, so there is absolutely no “failure to disclose” as Defendant wrongfully

alleges. See Centura Health Records (GIUFFRE005498-005569).

       Defendant then states that, in her deposition, “Ms. Giuffre claims she was not treated by

any other physicians,” and then states that other records revealed “three additional health care




5
 Defendant’s argument that Ms. Giuffre was trying to “hide” these providers is illogical and
wholly contradicted by the fact that Ms. Giuffre disclosed these providers. Defendant never
explains how Ms. Giuffre can be “hiding” providers while testifying about them and producing
their records.
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        Additionally, Defendant’s motion lists 15 providers 8 Ms. Giuffre gave to Defendants in

her interrogatories (Mtn. at 3), but then states that “Plaintiff failed therein to identify any

treatment providers prior to the alleged defamation, despite the Court’s order concerning 1999-

2015.” (Mtn. at 4). This statement, too, is wildly incorrect. Of the list of 15 providers, the

overwhelming majority of them are providers “prior to the alleged defamation.” 9 For example,

Ms. Giuffre produced records from N.Y. Presbyterian Hospital. (GIUFFRE003258-3290). Not

only do the dates on the records (e.g., July 9, 2001) demonstrate they are prior to the defamation,

but Defendant has independent knowledge that this provider pre-dates Defendant’s defamation.

Indeed, Defendant is the one who brought her to that hospital, while she was a minor.

Therefore, Defendant’s statement in her brief that “Plaintiff failed therein to identify any

treatment providers prior to the alleged defamation, despite the Court’s order concerning 1999-

2015” (Mtn. at 4) is inaccurate.

        Defendant continues with another misleading statement: “As of today’s date . . . and 10

days before the end of fact discovery in this case, Ms. Maxwell has learned of at least five

additional doctors” (Mtn. at 5), and then, again, names Ms. Lightfoot, Dr. Geiger, Dr. Heaney,

Donna Oliver P.A., and Dr. Streeter. Defendant did not learn of these providers 10 days prior to

the close of discovery, but much earlier, as the previous page of Defendant’s brief recounts.




8
 (1) Dr. Steven Olson; (2) Dr. Chris Donahue; (3) Dr. John Harris; (4) Dr. Majaliyana; (5) Dr.
Wah Wah; (6) Dr. Sellathuri; (7) Royal Oaks Medical Center; (8) Dr. Carol Hayek; (9) NY
Presbyterian Hospital; (10) Campbelltown Hospital; (11) SydneyWest Hospital; (12) Westmead
Hospital; (13) Dr. Karen Kutikoff; (14) Wellington Imaging Associates; (15) Growing Together.
9
 Providers from that list that treated Ms. Giuffre prior to Defendant’s defamation include: (1)
Dr. John Harris; (2) Dr. Majaliyana; (3) Dr. Majaliyana; (4) Dr. Wah Wah; (5) Dr. Sellathrui; (6)
Royal Oaks Medical Center; (7) Dr. Carol Hayek; (8) NY Presbyterian Hospital; (9) Sydney
West Hospital; (10) Westmead Hospital; (12) Wellington Imaging Associates; (13) Growing
Together.
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       Defendant’s next statement is equally misleading “documents relating to these doctors

were not provided until after their identities became known through deposition or other

independent investigation by Ms. Maxwell.” (Mtn. at 5). Their identities became known to

Defendant because Ms. Giuffre disclosed the name of Ms. Lightfoot in her deposition, and

because Ms. Giuffre herself produced emergency room records to Defendant – documents

bearing the names of the other providers. Accordingly, these five additional names were

provided to Defendant by Ms. Giuffre herself, through (1) her deposition testimony; and (2) her

document production.

       Defendant is now asking this Court to enter extraordinary sanctions because those names

were not provided in response to an interrogatory, but, instead, were provided through Ms.

Giuffre’s testimony and Ms. Giuffre’s document production. This is an improper request. It is

unsurprising that Defendant cannot cite to a single case in which any type of sanctions were

awarded under even remotely similar circumstances. Indeed, the purpose of the various aspects

of discovery provided by Rule 26(a)(5), Fed. R. Civ. P., is to provide more fulsome information.

C.f. In re Dana Corp., 574 F.3d 129, 150 (2d Cir. 2009) (“the various discovery methods are

more complementary than fungible”). Here, Ms. Giuffre provided her medical information

through interrogatory response, through testimony, and through document production. Ms.

Giuffre has met her obligation under both this Court’s Order and Rule 26. There has been no

failure to disclose: Ms. Giuffre provided the names and testified about her treatment.

Accordingly, this motion should be denied in its entirety.

II.    MEDICAL RECORDS

       Defendant states that Plaintiff has failed to produce any records from (a) Dr. Donahue,

(b) Dr. Hayek, (c) Dr. Kutikoff, (d) Wellington Imaging Assocs., (e) Growing Together, (f) post



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Accordingly, as the Court can see with reference to the Bates labels in the above chart, Ms.

Giuffre has be compliant in producing her medical records. Indeed, she has signed releases for

all records requested by Defendant, and has produced all records released by the providers. In

addition to signing all releases for medical providers requested by Defendant, the work

associated with compiling the records and following up with providers (as shown by the above

chart) clearly demonstrates Ms. Giuffre’s good faith and persistence in her deliberate and

thorough pursuit of providing Defendant with her medical records. That is reason alone to deny

Defendant’s unsupported request for sanctions.

       A.      Dr. Donahue

       Plaintiff dutifully signed a release for medical records and provided it to Dr. Donahue on

April 5, 2016, and sent a copy to the Defendant so counsel was on notice of the efforts being

taken to secure medical records. See McCawley Decl. at Composite Exhibit 6, Dr. Donahue

letter and Release Form. Ms. Giuffre’s counsel has received records from Dr. Donahue since the

Defendant filed the instant motion, and immediately provided those records to Defendant. See

chart above, GIUFFRE00006631-006635.

       B.      Dr. Hayek

       Dr. Hayek treated Ms. Giuffre over seven years ago. Ms. Giuffre signed a release form

for Dr. Hayek’s records, sent the release form on March 8, 2016, and provided a copy of the

form to Defendant. Having not received any records, the undersigned sent a follow-up letter to

Dr. Hayek on April 28, 2016, to request the records. Upon information and belief, Dr. Hayek

does not keep patient’s medical records for longer than seven years, and, therefore, no longer has

any records pertaining to Ms. Giuffre. Ms. Giuffre and her counsel have made inquiries to Dr.


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Hayek’s office via telephone and email, but, to date, have not received any response. Again, Ms.

Giuffre has no input on Dr. Hayek’s document retention policies, and therefore, the lack of

production of records from Dr. Hayek cannot be attributed to Ms. Giuffre.

       C.      Dr. Kutikoff, Wellington Imaging Associates (“Wellington Imaging”) , and
               Growing Together

       Plaintiff provided Defendant’s counsel executed medical release forms for Dr. Kutikoff,

Wellington Imaging, and Growing Together on April 29, 2016. See McCawley Decl. at

Composite Exhibit 7. Accordingly, Ms. Giuffre has no direct knowledge as to what, if anything,

these three providers produced to Defendant’s counsel. Ms. Giuffre has done everything in her

power to make them available to Defendant, a fact that Defendant cannot dispute. Again, there

has been no “failure” by Ms. Giuffre here, as Ms. Giuffre has signed and sent the necessary

release forms for the records to be sent directly to Defendant. 10

       D.      Ms. Lightfoot

       Defendant admits that Ms. Giuffre produced Ms. Lightfoot’s records in footnote 4 of her

brief on page 11, yet on page 16, Defendant wrongfully states Plaintiff has not produced Dr.

Lightfoot’s records. Despite the self-contradictory briefing, Ms. Lightfoot has produced records.

See chart above, Giuffre005431-005438, Medical Release Form with documents. As with the

other providers, Ms. Giuffre has executed and sent medical records release forms to Ms.

Lightfoot, and has thus met her discovery obligations. To follow up on Defendant’s wrongful

claims that Ms. Giuffre has somehow “withheld” more current records (despite executing a

release for all records); Ms. Giuffre followed up with Ms. Lightfoot, who provided to Ms.




10
  Upon information and belief, Ms. Lightfoot is not a medical doctor, but an Australian
“Consulting Psychologist.”
                                                 10
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Giuffre’s counsel correspondence stating that she has produced all of Ms. Giuffre’s records (see

chart above, Giuffre006636), thereby indicating that she does not keep more current records.

       E.      Dr. Olson

       Defendant claims that Ms. Giuffre failed to produce “the remaining documents for

treatment by Dr. Olson,” but this is a wild inaccuracy. (And, Ms. Giuffre would refer the Court

to a short excerpt from Dr. Olson’s deposition in which Dr. Olson explains in his own words his

production. See McCawley Decl. at Exhibit 10, Dr. Olson Deposition Excerpt.) First, Ms. Giuffre

signed a release for all records that Dr. Olson had. See McCawley Decl. at Composite Exhibit 6,

March 8, 2016, Release for Dr. Olson records. Dr. Olson produced records Bates labeled

GIUFFRE005342-005346 and GIUFFRE005492-005496. Dr. Olson then testified in his

deposition that he kept a record on his laptop that was not a part of the medical records produced

by his hospital. Id. During the deposition, he printed that record and gave it to Defendant’s

counsel. Id. Now, Defendant’s counsel is claiming that this set of facts constitutes a discovery

violation that warrants sanctions. There is no failure to produce here. Ms. Giuffre executed a

medical release that provided for all of Ms. Giuffre’s medical records with regard to Dr. Olson,

and records were produced. It was Dr. Olson who failed to include his “laptop records” among

the records that were produced.

       Ms. Giuffre knew nothing of the “laptop records” until Dr. Olson’s deposition, and Dr.

Olson provided them at that time, a fact Defendant admits in a footnote in her Motion to Reopen

Ms. Giuffre’s Deposition. In that brief, Defendant complains that they were not “produced” until

after Ms. Giuffre was deposed. That is a distortion. Defendant already had such documents from

Dr. Olson himself. Ms. Giuffre included those documents that both sides received in the

deposition as part of her next production, so that they would bear a Bates label for tracking



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purposes. It was a formality since both sides already had the record. Defendant states: “Despite

requests, legible copies have not been provided.” Defendant uses the passive voice here,

presumably to avoid making clear the fact that the requests for legible copies would need to be

made to Dr. Olson, who controls the records, not to Ms. Giuffre, who long ago authorized the

release of all records. The existence of a record that a witness failed to produce prior to a

deposition is not a discovery violation from Ms. Giuffre.

III.    MS. GIUFFRE HAS PROVIDED DISCOVERY IN ACCORDANCE WITH HER
        DISCOVERY OBLIGATIONS

        The fact is that Ms. Giuffre has executed a release form for each and every medical care

provides that Defendant asked for. Defendant cannot contradict this statement. Ms. Giuffre

produced medical records she had in her possession (such as New York Presbyterian records),

early in discovery. From that point, other medical records were sought and obtained, with Ms.

Giuffre facilitating their production from the providers by executing and sending release forms

and paying all applicable fees for their release. Moreover, counsel for Ms. Giuffre has kept

Defendant fully apprised of such efforts, even giving Defendant copies of all releases that have

been issued, and providing updates on Ms. Giuffre’s continued efforts to obtain medical records

beyond signing releases. See McCawley Decl. at Composite Exhibits 5 and 6.

        Executing and sending medical release forms to all of the medical providers satisfies Ms.

Giuffre’s discovery obligations with regard to her medical records, and Defendant cannot cite to

a case that states otherwise. See, e.g., Candelaria v. Erickson, 2006 WL 1636817, at *1

(S.D.N.Y. 2006) (requiring the execution of updated medical release forms to satisfy discovery

obligations). The fact that Defendant has presented this weak tea to the Court - concerning the

actions of third-parties Ms. Giuffre does not control - shows just how baseless the motion is.

IV.     DEFENDANT CAN SHOW NO PREJUDICE


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       Defendant’s claims concerning deposing Dr. Donahue are similarly specious. First,

despite knowing about Dr. Donahue since at least April 29, 2016 (a fact she admits in her brief

“Dr. Donahue may have been named” (Mtn. at 16)): Defendant has never issued a Notice of

Deposition for Dr. Donahue. Defendant cannot claim any prejudice with respect to Dr. Donahue.

       Additionally, Defendant acts in bad faith when she claims that medical records from Dr.

Donahue were “purposefully hidden by Plaintiff” (Mtn. at 11) when Defendant knows that Ms.

Giuffre executed and sent a medical release for Dr. Donahue on April 5, 2016, for all of his

records. See McCawley Decl. at Composite Exhibit 6, Dr. Donahue Medical Release. As stated

above, this argument is moot because the records concerning Dr. Donahue (and other providers

at his practice) have been produced to Defendant.

       Finally, though Ms. Giuffre does not control how quickly providers respond to her

releases (though her counsel has spent considerable time following-up with providers, urging

their speedy release, and paying all applicable fees), Ms. Giuffre has agreed to reopen her

deposition for questions concerning provider records that were produced subsequent to her

deposition. Therefore, Ms. Giuffre has eliminated any prejudice Defendant could claim to suffer

with respect to taking Ms. Giuffre’s deposition. See Giuffre006631-006635.

       A factor relevant to the appropriateness of sanctions under Rule 37 for discovery

violations is the “prejudice suffered by the opposing party.” Design Strategy, Inc. v. Davis, 469

F.3d 284, 296 (2d Cir. 2006). Here, Defendant cannot claim any prejudice resulting from her

empty claims of “discovery violations.” Accordingly, sanctions are inappropriate.

V.     MS. GIUFFRE HAS BEEN FULLY COMPLIANT IN DISCOVERY



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       It is the Defendant in this case that has failed to comply with discovery at every turn.

Defendant has refused to produce any documents whatsoever without this Court entering an

Order directing her to do so. The only reason Plaintiff has documents from Defendant at all is

because of this Court’s denial of Defendant’s stay requests and the Court’s rulings on Ms.

Giuffre’s Motion to Compel for Improper Claim of Privilege (wherein Defendant was ordered to

turn over documents that did not even involve communications with counsel) and her Motion to

Compel for Improper Objections. Even then, Defendant’s counsel refused to even take the

routine step of looking at Defendant’s email and other electronic documents to find responsive

documents, but produced, instead, only what Defendant wanted to produce. Ms. Giuffre had to

bring a Motion for Forensic Examination and the Court had to order that Defendant’s counsel

actually produce documents from Defendant’s electronic documents, something that has not yet

been done to date. Indeed, Defendant did not make her initial disclosure until February 24, 2016

several months after the deadline for these disclosures. Additionally, while Ms. Giuffre started

her efforts to take the Defendant’s deposition in February, 2016, Defendant did not actually sit

for her deposition until after being directed to do so by the Court, on April 22, 2016.

       Furthermore, during the deposition, Defendant refused to answer a myriad of questions,

and therefore, this Court recently ordered Defendant to sit for her deposition again. See June 20,

2016, Order resolving eight discovery motions entered under seal and granting Plaintiff’s Motion

to Compel Defendant to Answer Deposition Questions (D.E. 143).

       Ms. Giuffre has had to litigate, multiple times, for Defendant to make any document

production, and Ms. Giuffre has had to litigate, also multiple times, for Defendant to be deposed.

See Plaintiff’s Response in Opposition to Defendant’s Motion to Stay Discovery (DE 20);

Plaintiff’s February 26, 2016, Letter Motion to Compel Defendant to Sit for Her Deposition;



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Plaintiff’s Motion to Compel Documents Subject to Improper Claim of Privilege (DE 33);

Plaintiff’s Motion to Compel Documents Subject to Improper Objections (DE 35); Plaintiff’s

Response in Opposition to Defendant’s Motion for a Protective Order Regarding Defendant’s

Deposition (DE 70); Plaintiff’s Motion for Forensic Examination (DE 96); Plaintiff’s Motion to

Compel Defendant to Answer Deposition Questions (DE 143). Ms. Giuffre has had to expend

considerable time and resources simply to have Defendant meet her basic discovery obligations

in this case.

        Now, having completely stonewalled on discovery, making every produced document

and even her own deposition the result of extensive and unnecessary litigation, taking positions

that are contrary to the Federal Rules and wholly contrary to prevailing case law, Defendant

claims that Ms. Giuffre has been “non-compliant since the outset of discovery.” (Mtn. at 11).

This statement is completely inaccurate.

        Defendant makes a number of unsubstantiated claims regarding law enforcement

materials, photographs, and email accounts. Most of these issues have been resolved pursuant to

this Court’s orders. See June 20, 2016, Order entered under seal denying Defendant’s motion to

compel law enforcement materials; June 23, 2016, Minute Entry. Ms. Giuffre merely points out

that Defendant not only failed to review, search, or produce Defendant’s email, from any of her

multiple accounts, but also wholly failed to disclose her terramarproject.org email account or her

ellmax.com email account.

        Regarding photographs, counsel for Ms. Giuffre has gone to considerable expense to

recover boxes that Ms. Giuffre thought may contain photographs, including paying

approximately $600.00 for shipping of the boxes to ensure production of any recent information.

Accordingly, Defendant articulates no legitimate complaint in this section of her brief.



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                                     LEGAL ARGUMENT

 I.    DEFENDANT CANNOT SHOW NON-COMPLIANCE, AND HAS PUT FORTH
       NO COLORABLE LEGAL ARGUMENT FOR SANCTIONS

       Sanctions are not appropriate in this case because Defendant cannot show non-

compliance. Through the normal course of discovery, Ms. Giuffre produced her medical

providers to Defendant, as Defendant admits in her moving brief. Defendant’s complaint boils

down to the fact that Ms. Giuffre remembered at deposition two providers (Ms. Lightfoot and Dr.

Donahue) that she did not recall when compiling her long list of providers in response to

Defendant’s interrogatory four days prior. That does not constitute non-compliance. That is not

sanctionable behavior. And, Defendant cannot cite any case in which a court found differently.

Additionally, though Defendant attempts to ascribe blame to Ms. Giuffre for any medical records

that have not been sent by providers (or medical records that may not exist), the uncontested fact

is that Ms. Giuffre has executed releases for all of the providers Defendant requested. Again,

Defendant can point to no case in which sanctions were awarded over medical records where the

party signed all applicable releases. Accordingly, Defendant’s motion should be denied. 11

       Even Defendant’s own cases cited in her brief are inapposite and do not suggest that

sanctions are appropriate in this case. For example, in Davidson v. Dean, the plaintiff “refused

to consent to the release of mental health records” for periods for which he was seeking damages
11
   What does constitute sanctionable behavior is testimonial obduracy that includes “denying
memory of the events under inquiry,” a tactic Defendant took in response to a multitude of
questions at her deposition, as more fully briefed in Ms. Giuffre’s Motion to Compel Defendant
to Answer Deposition Questions (DE 143), granted by this Court on June 20, 2016. See In re
Weiss, 703 F.2d 653, 663 (S.D.N.Y. 1983) (holding that “the witness's . . . disclaimers of
knowledge or memory, has also been dealt with as contemptuous conduct, warranting sanctions
that were coercive, punitive, or both. It has long been the practice of courts viewing such
testimony as false and intentionally evasive, and as a sham or subterfuge that purposely avoids
giving responsive answers, to ignore the form of the response and treat the witness as having
refused to answer.”).



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regarding the manner in which she received this information, and, indeed, does not. 12

Accordingly, sanctions are wholly inappropriate.

III.    MS. GIUFFRE HAS FULFILLED HER REQUIREMENTS REGARDING HER
        RULE 26 DISCLOSURES 1314

        Regarding Ms. Giuffre’s computation of damages, Ms. Giuffre has pled defamation per

se under New York law, where damages are presumed. Robertson v. Dowbenko, 443 F. App'x

659, 661 (2d Cir. 2011). Plaintiff provided amounts, damage calculations and supporting

evidence required under Rule 26. Plaintiff is retaining experts to support her Rule 26

Disclosures, and expert reports and disclosures are not due at this time. Defendant takes issues

with Ms. Giuffre’s computation of damages in her Rule 26 disclosures but fails to cite to a single

case that requires more from her, let alone more from a Plaintiff claiming defamation per se.

Indeed, the case law supports that Plaintiff has fully complied with her Rule 26 obligations. See

Naylor v. Rotech Healthcare, Inc., 679 F. Supp. 2d 505, 510 (D. Vt. 2009).

        In good faith, Ms. Giuffre has produced a multitude of documents and information

regarding her damages. Defendant does not cite to a single case that even suggests she is

required to do more. What Defendant purports to lack is expert discovery and an expert report on

computation of damages. Rule 26(a)(1), governs “initial disclosures,” disclosures to be made at




12
  This is particularly true regarding the timing of Ms. Giuffre’s deposition, as Ms. Giuffre has
agreed to reopen her deposition concerning any medical information that Defendant did not
receive in advance of her deposition.
13
  Defendant references her Motion to Compel Rule 26(a) disclosures (DE 64) that she filed on
March 22, 2016, but failed to mention that, after a hearing, this Court denied that motion with
leave to refile (DE 106).
14
  Defendant repeatedly attempts to conflate the required disclosures under Federal Rule of Civil
Procedure 26(a) and the disclosures ordered by this Court on April 21, 2016, in an apparent
effort to ‘backdate’ those required disclosures.
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the beginning of litigation, prior to the completion of expert work. It does not entitle a party to

expert discovery at this stage in the case.

       Ms. Giuffre has pleaded and will prove defamation per se, where damages are presumed.

Robertson v. Dowbenko, 443 F. App'x at 661 (“As the district court correctly determined,

Robertson was presumptively entitled to damages because he alleged defamation per se.”).

Under New York law, defamation per se, as alleged in this case, presumes damages, and special

damages do not need to be pled and proven. See Celle v. Filipino Reporter Enters. Inc., 209 F.3d

163, 179 (2d Cir.2000) (Second Circuit holding that “[i]f a statement is defamatory per se, injury

is assumed. In such a case ‘even where the plaintiff can show no actual damages at all, a

plaintiff who has otherwise shown defamation may recover at least nominal damages,’” and

confirming an award of punitive damages) (Emphasis added).

       Additionally, Ms. Giuffre has claimed punitive damages for the defamation per se.

“[C]ourts have generally recognized that ... punitive damages are typically not amenable to the

type of disclosures contemplated by Rule 26(a)(1)(A)(iii), and have held that the failure to

disclosure a number or calculation for such damages was substantially justified.” See Murray v.

Miron, 2015 WL 4041340 (D. Conn., July 1, 2015). See also Scheel v. Harris, No. CIV.A. 3:11-

17-DCR, 2012 WL 3879279, at *7 (E.D. Ky. Sept. 6, 2012) (finding that a failure to provide a

precise number or calculation for their punitive damages claim is substantially justified pursuant

to Fed. R. Civ. P. 37(c)(1)).

       Accordingly, Ms. Giuffre’s disclosures comply with Rule 26 for the computation of

damages. See Naylor v. Rotech Healthcare, Inc., 679 F. Supp. 2dat 510 (“The Court is skeptical

of the need for so much additional discovery, since the only open issue on the defamation claim

seems to be damages. Miles’s email itself provides evidence of the statement and publication to



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a third party. Damages will depend on [plaintiff] Naylor's testimony and perhaps evidence from

a few other sources, such as Naylor's family and friends, or Streeter [one of defendant’s

clients].”) Ms. Giuffre has provided the calculations evidencing how she arrived at her damage

figures and has provided a myriad of documents upon which she also will rely in proving

damages. This includes supporting documents showing average medical expenses computed by

her average life expectancy. “‘[N]on-economic damages based on pain and suffering ... are

generally not amenable to the type of disclosures contemplated by Rule 26(a)(1)(A)(iii).’”

Scheel v. Harris, No. CIV.A. 3:11-17-DCR, 2012 WL 3879279, at *7 (E.D. Ky. Sept. 6, 2012)

(holding that plaintiff’s failure to disclose a number or calculation for such damages was

substantially justified).

IV.     THIS COURT SHOULD NOT STRIKE MS. GIUFFRE’S CLAIMS FOR
        MEDICAL AND EMOTIONAL DISTRESS DAMAGES

        Defendant cites four cases in support of her request for this Court to strike her claims for

medical and emotional distress damages, and each one of them militates against any such relief

being awarded in this case. In the first, Nittolo v. Brand, sanctions were awarded in a personal

injury action because, inter alia, the plaintiff went to his physician and took away his medical

records before defendant had a chance to use the court-ordered release to access them, and the

Court found the plaintiff lied under oath about taking away the records. 96 F.R.D. 672, 673

(S.D.N.Y.1983). By contrast, Ms. Giuffre has signed every medical release form requested by

Defendant and provided all medical records that they yielded.

        Defendant’s second case is equally inapposite. In Skywark v. Isaacson, Court found that

the plaintiff “began his pattern of lying about at least three matters of extreme significance to his

claim for damages;” lied to his experts and lied under oath; and “never provided defendants with

the promised [medical release] authorizations.” 1999 WL 1489038 at *3, *5, *11 (S.D.N.Y. Oct.

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abundant testimonial evidence condemning Defendant than any type of imagined discovery

violation on behalf of Ms. Giuffre.

       Ms. Giuffre respectfully requests that it be denied in its entirety.



Dated: June 28, 2016.

                                              Respectfully Submitted,

                                              BOIES, SCHILLER & FLEXNER LLP

                                          By: /s/ Sigrid McCawley
                                               Sigrid McCawley (Pro Hac Vice)
                                               Meredith Schultz (Pro Hac Vice)
                                               Boies Schiller & Flexner LLP
                                               401 E. Las Olas Blvd., Suite 1200
                                               Ft. Lauderdale, FL 33301
                                               (954) 356-0011

                                               David Boies
                                               Boies Schiller & Flexner LLP
                                               333 Main Street
                                               Armonk, NY 10504

                                               Bradley J. Edwards (Pro Hac Vice)
                                               FARMER, JAFFE, WEISSING,
                                               EDWARDS, FISTOS & LEHRMAN, P.L.
                                               425 North Andrews Avenue, Suite 2
                                               Fort Lauderdale, Florida 33301
                                               (954) 524-2820

                                               Paul G. Cassell (Pro Hac Vice)
                                               S.J. Quinney College of Law
                                               University of Utah
                                               383 University St.
                                               Salt Lake City, UT 84112
                                               (801) 585-5202 16




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 28th day of June, 2016, I served the attached document

via Email to the following counsel of record.

       Laura A. Menninger, Esq.
       Jeffrey Pagliuca, Esq.
       HADDON, MORGAN & FOREMAN, P.C.
       150 East 10th Avenue
       Denver, Colorado 80203
       Tel: (303) 831-7364
       Fax: (303) 832-2628
       Email: lmenninger@hmflaw.com
               jpagliuca@hmflaw.com




                                                     /s/ Sigrid S. McCawley
                                                         Sigrid S. McCawley




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